
OULLEN, J.
—I dissent from so much of the opinion of Mr. Justice Hatch as holds that the name “National Democratic Party” is not substantially the same as “Democratic Party.” I do not sajr that there is an exclusive or prescriptive right to the names “Democratic” or “Republican” to such an extent that a third party might not properly, under the statute adopt the name of “Independent Republican” or “Reform Democratic,” because the very words “Reform" or “Independent” would indicate to every mind familiar with American politics that the ticket was not that nominated by the regular organization. But the term “National Democratic Party” or “National Republican Party” would convey no such signification. I think the natural thought suggested by the use of those terms in common conversation is the idea of the regular party in its,entirety through the whole country, as distinguished from the party organization in a state. I see no evidence of the *629fact that the term “National” in reference to the Democracy hag by length of usage assumed in the general understanding of the community a particular significance. It is dangerous to assume such fact in the case of a party organization which has been in existence but a few months. I make bold to assert that this party is referred to colloquially by the terms “Sound Money Democrats” or “Gold Democrats” a hundred times where it is once mentioned as the “National Democratic Party.”
The reverse rule should be applied here to that applicable to the question of the right of an organization to have its tickets printed on the official ballot. In the latter case, under our most restrictive ballot law, which (if constitutional) is almost destructive of independent voting, a party deprived of place on the official ballot is practically and in fact deprived of an opportunity to receive votes at all. The court should therefore be astute and keen to so construe the law and facts as to give every body of citizens a fair chance to express their will by the ballot box. But no injury or hardship is done the independent voter or dissenting organization when it is required that new names should indicate affirmatively or even almost aggressively the fact that the ticket is not that of the old or regular organization. The name here adopted is, to say the least, so dangerously close and similar to that of the old organization that it should not be allowed to stand. The Independent Party has run its candidates for office at two elections under its name of “Democratic Party Reform Organization.” There is no reason to suppose that under the same designation it will not receive the votes of all persons intending to support it, and the change of name proposed should not be now allowed.
BARTLETT, J., concurs in the foregoing opinion of Mr. Jus tice CULLEN.
